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 6   ATTORNEY FOR Defendant, SHANNE LEAVELL

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 9
                            IN THE UNITED STATES DISTRICT COURT
10
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
11
                                                 ******
12

13   UNITED STATES OF AMERICA,                        Case No.: 1:15-CR-00234 AWI BAM- (002)
14                          Plaintiff,
15                                                    AMENDED STIPULATION TO MODIFY
            v.                                        CONDITIONS OF RELEASE; ORDER
16
     SHANNE LEAVELL,
17
                            Defendant.
18

19

20          Defendant Shanne Leavell, by and through his counsel of record, ROGER D. WILSON,

21   and Plaintiff United States of America, by and through its counsel of record BENJAMIN B.

22   WAGNER, United States Attorney and MIA A. GIACOMAZZI, Assistant U.S. Attorney,

23   hereby stipulate to the following modification of conditions of release:

24          1.      The defendant shall participate in a program of medical or psychiatric treatment,

25   including treatment for drug or alcohol dependency, as approved by the pretrial services

26   officer; defendant shall pay all or part of the costs of counseling services based upon ability to

27   pay as determined by the pretrial services officer.

28          2.      All other terms and conditions of release remain in full force and effect.



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 1          3.      Pretrial Services officer has been advised and approves this modification.

 2

 3          IT IS SO STIPULATED.

 4   DATED:      11/25/2015                                 /s/ Mia A. Giacomazzi
                                                            MIA A. GIACOMAZZI
 5                                                          Assistant United States Attorney
 6
     DATED:      11/25/2015                                 /s/ Roger D. Wilson
 7                                                          ROGER D. WILSON
                                                            Attorney for Shanne Leavell
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10                                              ORDER
11          IT IS SO FOUND AND ORDERED that the above Stipulation Modifying Conditions
12   of Release is hereby approved and the modifications set forth in paragraphs One (1), Two (2)
13   and Three (3) of the Stipulation are adopted as findings by the Court.
14
     IT IS SO ORDERED.
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16      Dated:     November 25, 2015                           /s/ Barbara A. McAuliffe             _
17                                                       UNITED STATES MAGISTRATE JUDGE

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